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B2030 (Form 2030) (12/15)
United States Bankruptcy Court
District of Delaware

Inre Main Street Business Funding, LLC Case No.

Debtor(s) Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that J am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, | have agreed to accept $ 10,000.00
Prior to the filing of this statement I have received $ 10,000.00
Balance Due $ 0.00

2. The source of the compensation paid to me was:

EH Debtor [Other (specify):

3. The source of compensation to be paid to me is:

MI Debtor C] Other (specify):
4, M@ | have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

CI) I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;

. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof:

. [Other provisions as needed]

Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
522(f)(2)(A) for avoidance of liens on household goods.

ao gp

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
any other adversary proceeding.

CERTIFICATION
I certify that the foregoing is a complete statement of any agreemest or ™ or payment-to me for represen

ation of the debtor(s) in
this bankruptcy procegding.

“i 2, (OF

Date + Michael Bysen ll DS Le
Signature of Attorney
Gellert Scali Busenkell & Brown, LLC
1201 N. Orange Street
Suite 300
Wilmington, DE 19801
302-425-5812 Fax: 302-425-5814
mbusenkell@gsbblaw.com

Name of law firm

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Debtorname Main Street Business Funding, LLC

United States Bankruptcy Court for the: DISTRICT OF DELAWARE

Case number (if known)

O Check if this is an
amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors as

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

ae Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B; Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Other document that requires a declaration

| declare under penalty of perjury that the foregoing is ae
z/a214 za :
t

Executed on x
Signature ofindiViduat signing on behalf of debtor

HHEOSHHEEESG

c

Robert Goggin
Printed name

President
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

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UTR CMCC Ome a tem er: toe

Debtorname Main Street Business Funding, LLC

United States Bankruptcy Court for the: DISTRICT OF DELAWARE

Case number (if known)

(1 Check if this is an
amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/15

Summary of Assets

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

1a. Real property:
Copy line 88 from Schedule A/B...c.ccsccscsscsssssssssessscsssecsnscesnveceavecessecssanessaneqsecessaccesecetsnmeessteeerversisesseeetiisseniessanes $ 0.00

1b. Total personal property:
Copy line 91A from Schedule A/B.....cccccstesesseccssesesccscsssessneescnerecssessenenstesenesveesecneceesssesesenessssesenesneeenestirteanees $ 0.00

1c. Total of all property:
Copy line 92 from Schedule A/Booccscsssssssssssscssesssecsssessssssesssassasssescsnsssssesssesnvseccusneecessnnuseteesennarereeereneseeetasneneeetsnae $ 0.00

Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.........cccccceeseeees $ 1,102,000.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule E/Focsccccccsscsssssccsssssesssessssesssssssssusassnssesssnsenseuesusten $ 0.00
3b. Total amount of claims of nonpriority amount of unsecured claims: 4
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F.........ccccsccesseteseeeeneneees +$ 9,323,135.00
4, Total liabilities ooo... cee cee cneeneceeeneeeeneaeseessaaseeccaecanesucnssneensseeesne es Gene ¢eA0#A# 0A EAAEORESAEA REESE ECS ERE EELEEE ORES SEEE
Lines 2 + 3a + 3b $ 10,425,135.00
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1

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Debtorname Main Street Business Funding, LLC

United States Bankruptcy Court forthe: DISTRICT OF DELAWARE

Case number (if known)

( Check if this is an
amended filing

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12115

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 2066).

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

C1 No. Go to Part 2.

Ml Yes Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

3. Checking, savings, money market, or financial brokerage accounts (identify all)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
PNC Bank
1511 Wainut Street
3.1. Philadelphia, PA 19102 Non-Personal Checking 1698 $0.00
PNC Bank
1511 Walnut Street
3.2. Philadelphia, PA 19102 Non-Personal Checking 9264 $0.00
PNC Bank
1511 Walnut Street
3.3. Philadelphia, PA 19102 Non-Personal Checking 1815 $0.00
4. Other cash equivalents (Identify all)
5. Total of Part 1. $0.00
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?
MI No. Go to Part 3.
O Yes Fill in the information below.
Accounts receivable
10. Does the debtor have any accounts receivable?
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1

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Debtor Main Street Business Funding, LLC Case number (if known)
Name

CI No. Go to Part 4.
lf Yes Fill in the information below.

11. Accounts receivable

11a. 90 days old or less: 22,641.36 = - 22,641.36 =... $0.00
face amount doubtful or uncollectible accounts ‘

11a. 90 days old or less: 19,454.73 - 19,454.73 =... $0.00
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 933,076.51 - 933,076.51 =... $0.00
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 218,627.15 — - 218,627.15 =... $0.00
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 19,236.40 - 19,236.40 =... $0.00
face amount doubtful or uncollectible accounts

41a. 90 days old or less: 49,462.37 - 49,462.37 =... $0.00
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 172,072.93 - 172,072.93 =... $0.00
face amount doubtful or uncollectible accounts

41a. 90 days old or less: 49,272.50 - 49,272.50 =... $0.00
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 22,672.40 - 22,672.40 =... $0.00
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 26,000.00 - 26,000.00 =... $0.00
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 3,727.64 - 3,727.64 =... $0.00
face amount doubtful or uncollectible accounts

41a. 90 days old or less: 20,124.00 - 20,124.00 =... $0.00
face amount doubtful or uncollectible accounts

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2

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Debtor Main Street Business Funding, LLC Case number (if known)
Name
11a. 90 days old or less: 46,104.54 - 46,104.54 = $0.00
face amount doubtful or uncollectible accounts
11a. 90 days old or less: 131,481.82 - 131,481.82 =. $0.00
face amount doubtful or uncollectible accounts
11a. 90 days old or less: 8,235.00 - 8,235.00 =... $0.00
face amount doubtful or uncollectible accounts
11a. 90 days old or less: 6,321.82 - 6,321.82 =... $0.00
face amount doubtful or uncollectible accounts
11a. 90 days old or less: 8,836.50 - 8,836.50 =... $0.00
face amount doubtful or uncollectible accounts
11a. 90 days old or less: 745.75 - 745.75 =... $0.00
face amount doubtful or uncoliectible accounts
11a. 90 days old or less: 3,720.00 - 3,720.00 =... $0.00
face amount doubtful or uncollectible accounts
11a. 90 days old or less: 47,984.12 - 47,984.12 =... $0.00
face amount doubtful or uncollectible accounts
12. Total of Part 3. $0.00
Current value on lines 11a + 11b = line 12. Copy the total to line 82.
Investments
13. Does the debtor own any investments?
HE No. Go to Part 5.
C1 Yes Fill in the information below.
ec ees Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
Hi No. Go to Part 6.
CO Yes Fill in the information below.
Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
Mi No. Go to Part 7.
CJ Yes Fill in the information below.
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3

Best Case Bankruptcy

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Debtor Main Street Business Funding, LLC Case number (ff known)
Name

Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

MI No. Go to Part 8.
CJ Yes Fill in the information below.

Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

HE No. Go to Part 9.
CJ Yes Fill in the information below.

Real property
54, Does the debtor own or lease any real property?

HI No. Go to Part 10.
C1 Yes Fill in the information below.

ere tae Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

Hi No. Goto Part 11.
O Yes Fill in the information below.

ala a All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

CI No. Go to Part 12.
@ Yes Fill in the information below.

Current value of
debtor's interest

71. Notes receivable
Description (include name of obligor)
Philadelphia Litigation: Main Street 0.00 - 0.00 =
Business Funding, LLC and Robert Total face amount doubtful or uncollectible amount
S. Goggin, lil v. Michael J. Goldner, et
al.
Court of Common Pleas
Philadelphia, PA
May Term, 2016, No. 02449 $0.00

72. Tax refunds and unused net operating losses (NOLs)
Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit
has been filed)

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 4
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Debtor

Case 19-10598-BLS Doc 32

Main Street Business Funding, LLC

Name

Philadelphia Litigation: Main Street Business Funding,
LLC and Robert S. Goggin, lll v. Michael J. Goldner, et
al.

Court of Common Pleas

Philadelphia, PA

May Term, 2016, No. 02449

Nature of claim
Amount requested $0.00

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Case number (if known)

$0.00

75.

Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims

Philadelphia Litigation: Main Street Business Funding,
LLC and Robert S. Goggin, Ill v. Michael J. Goldner, et
al.

Court of Common Pleas

Philadelphia, PA

May Term, 2016, No. 02449

Nature of claim
Amount requested $0.00

$0.00

76.

77.

78.

79.

Official Form 206A/B

Trusts, equitable or future interests in property

Other property of any kind not already listed Examp/es: Season tickets,

country club membership

Total of Part 711.
Add lines 71 through 77. Copy the total to line 90.

$0.00

Has any of the property listed in Part 11 been appraised by a professional within the last year?

Mi No
(J Yes

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Schedule A/B Assets - Real and Personal Property page 5

Best Case Bankruptcy

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Debtor Main Street Business Funding, LLC Case number (if known)
Name

ers a Ps Summary

In Part 12 copy all of the totals from the earlier parts of the form

_Type of property Current value of _ Current value of real
personal property property.

80. Cash, cash equivalents, and financial assets.

Copy line 5, Part 1 $0.00
81. Deposits and prepayments. Copy line 9, Part 2. $0.00
82. Accounts receivable. Copy line 12, Part 3. $0.00
83. Investments. Copy line 17, Part 4. $0.00
84. Inventory. Copy line 23, Part 5. $0.00
85. Farming and fishing-related assets. Copy line 33, Part 6. $0.00
86. Office furniture, fixtures, and equipment; and collectibles.

Copy line 43, Part 7. $0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8. $0.00
88. Real property. Copy line 56, Part 9.....cccccccccceecesesrereereesasatnsnessenesneseseseeressseanseaneasenesenenees > $0.00
89. Intangibles and intellectual property. Copy line 66, Part 10. $0.00
90. All other assets. Copy line 78, Part 11. + $0.00
91. Total. Add lines 80 through 90 for each column $0.00 | +9{%b. $0.00
92. Total of all property on Schedule A/B. Add lines 91a+91b=92 $0.00
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 6

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SUBURB ULC mM ILM Uiom er bicd

Debtorname Main Street Business Funding, LLC

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)

Oo

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

Check if this is an
amended filing

12/115

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?

(1 No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

Mf Yes. Fill in all of the information below.
List Creditors Who Have Secured Claims

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured

claim, list the creditor.separately for each claim.

Column A

Amount of.claim

Column B

Value of collateral
that supports this

Do not deduct the value claim
of collateral.
2.1 | Accell Orthpedics Inc. Describe debtor's property that is subject to a lien $0.00 $0.00
Creditors Name
PO Box 8702
Wilmington, DE 19899
Creditor's mailing address Describe the lien
Is the creditor an insider or related party?
HE vo
Creditors email address, if known Cl yes
Is anyone else liable on this claim?
Date debt was incurred a No
[J Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check ail that apply
Bo oO Contingent
C1 Yes. Specify each creditor, CJ unliquidated
including this creditor and its relative CZ Disputed
priority.
22 Equity Trust Company
“ | Custodian Describe debtor's property that is subject to a lien $0.00 $0.00
Creditor's Name
F/B/O Joseph Cooney
Acct. ----4248
1 Equity Way
Westlake, OH 44145
Creditors mailing address Describe the lien
Is the creditor an insider or related party?
Hno
Creditors email address, if known ves
Is anyone else liable on this claim?
Date debt was incurred nl No
[1 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 4

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Case 19-10598-BLS Doc 32

Debtor Main Street Business Funding, LLC
Name
a No QO Contingent

C1 Yes. Specify each creditor,
including this creditor and its relative
priority.

CI unliquidated
Oo Disputed

Case number (if know)

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Equity Trust Company

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2.3 Custodian Describe debtor's property that is subject to a lien $0.00 $0.00
Creditors Name
F/B/O Jennifer Karpchuck
Acct No. ----5525
Westlake, OH 44145
Creditors mailing address Describe the lien
ls the creditor an insider or related party?
Mi No
Creditors email address, if known CJ Yes
Is anyone else liable on this claim?
Date debt was incurred EH No
0D ves. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check ail that apply
HE No C1 contingent
(] Yes. Specify each creditor, C1 unliquidated
including this creditor and its relative CJ Disputed
priority.
24 | John P. Lane Describe debtor's property that is subject to a lien $30,000.00 $0.00
Creditor's Name
906 Ocean Drive
Avalon, NJ 08202
Creditors mailing address Describe the lien
Is the creditor an insider or related party?
Hi No
Creditor's email address, if known oO Yes
is anyone else liable on this claim?
Date debt was incurred Hino
[CJ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
a No oO Contingent
C] Yes. Specify each creditor, C1 untiquidated
including this creditor and its relative C1 disputed
priority.
2.5 | Joseph Cooney Describe debtor's property that is subject to a lien $532,000.00 $0.00
Creditors Name
826 Mountaintop Drive
Collegeville, PA 19426
Creditor's mailing address Describe the lien
Is the creditor an insider or related party?
Mino
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 4

Best Case Bankruptcy

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Debtor Main Street Business Funding, LLC Case number (if know)
Name
Creditors email address, if known 0 ves
Is anyone else liable on this claim?
Date debt was incurred a No

Last 4 digits of account number

Do multiple creditors have an
interest in the same property?

no

O yes. Specify each creditor,
including this creditor and its relative
priority.

C] Yes. Fill out Schedule H: Codebtors (Official Form 206H)

As of the petition filing date, the claim is:
Check all that apply

Cj Contingent
0 Unliquidated
QO Disputed

Lori Lane Describe debtor's property that is subject to a lien $40,000.00 $0.00
Creditor's Name
906 Ocean Drive
Avalon, NJ 08202
Creditor's mailing address Describe the lien
is the creditor an insider or related party?
Hino
Creditors email address, if known oO Yes
Is anyone else liable on this claim?
Date debt was incurred a No
[7] Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
No 1 Contingent
Cl Yes. Specify each creditor, C1 unliquidated
including this creditor and its relative C1 disputed
priority.
2.7 | Michael P. McNulty Describe debtor's property that is subject to a lien $500,000.00 $0.00
Creditors Name
36 Waterloo Ave
Berwyn, PA 19312
Creditor’s mailing address Describe the lien
Is the creditor an insider or related party?
Mi No
Creditor's email address, if known O Yes
Is anyone else liable on this claim?
Date debt was incurred a No
(] Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Wino CE contingent
C1 Yes. Specify each creditor, C1 unliquidated
including this creditor and its relative C] Disputed
priority.
$1,102,000.0
3. Total of the doflar amounts from Part 1, Column A, including the amounts from the Additional Page, if any. 0
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 3 of 4
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Debtor Main Street Business Funding, LLC Case number (if know)
Name

List Others to Be Notified for a Debt Already Listed in Part 4

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and address On which line in Part 1 did Last 4 digits of
you enter the related creditor? account number for
this entity
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 4 of 4
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TINT M ere elim Om Core CUA LEM rio

Debtor name

Main Street Business Funding, LLC

United States Bankruptcy Court forthe: DISTRICT OF DELAWARE

Case number (if known)

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

(1 Check if this is an
amended filing

12/16

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

a No, Go to Part 2.

C1 Yes. Go to line 2.

List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill

out and attach the Additional Page of Part 2.

Amount of claim

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. Unknown
ACH Works CD contingent
oe Blvd oO Unliquidated
e. C1 pi
Disputed
Rancho Cordova, CA 95670 P
. Basis for the claim:
Date(s) debt was incurred _ _
Last 4 digits of account number Is the claim subject to offset? Mino Dyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $75,000.00
Austin Touey CI contingent
553 Timber Lane C1 untiquidated
Devon, PA 19333 CO pisputea
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino Dyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. Unknown
Capital Stack, LLC C contingent
90 Broad St C1 Untiquidated
New York, NY 10004 1 disputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? z No [1] Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $5,000.00
Connor Goggin CI contingent
678 Andover Rd. O unliquidated
Newtown Square, PA 19072 (9 isputea
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Mino Dyes
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 4

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Debtor Main Street Business Funding, LLC

Case number (if known)

Name

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $500,000.00
Howard Greenberg CI contingent
; a Deering Bay Drive (C1 unliquidated
oO Disputed
Miami, FL. 33146
. Basis for the claim:
Date(s} debt was incurred _ _
Last 4 digits of account number __ Is the claim subject to offset? Mino [yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $150,000.00
Howard Silvers C] contingent
725 Harvard Rd 2 Untiquidated
Bala Cynwyd, PA 19004 C1 pisputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Intuit, Inc. CI Contingent
(Attn: QuickBooks) C1 unliquidated
2700 Coast Ave. C1 pisputed
Mountain View, CA 94043
. Basis for the claim: _
Date(s) debt was incurred _
Last 4 digits of account number _ Is the claim subject to offset? MI No [] Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $165,000.00
Jennifer Karpchuck C1 contingent
1809 Gait Circle CJ unliquidated
Warrington, PA 18976 C1 pisputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Eno (Cl yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $460,000.00
John A. Kotyo 0 contingent
3774 School Lane (J unliquidated
Newtown Square, PA 19073 1 pisputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? a No [1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $852,500.00
John P. Lane, Jr. CI contingent
906 Ocean Drive CI unliquidated
Avalon, NJ 08202 CO disputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Mino Clyes
3.11 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $302,000.00
Mark Powers CJ contingent
ae an St CO unliquidated
p C1 bis
puted
New York, NY 10022
. Basis for the claim:
Date(s) debt was incurred _ _-
Last 4 digits of account number _ is the claim subject to offset? Ml No C1 Yes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 4
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Debtor Main Street Business Funding, LLC

Case number (if known)

Name
3.12 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $185,535.00
Mary Kelly C1] Contingent
678 Andover Road C1 unliquidated
Newtown Square, PA 19072 C1 pisputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $320,000.00
Michael McCarthy CJ Contingent
2 Jaclyn Dr CI Untiquidated
Havertown, PA 19083 C1 pisputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __
is the claim subject to offset? Mino Clyes
3.14 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $100,000.00
Nancy Cherner O1 Contingent
Oe S. 18th St CO unliquidated
rc 1 Disputed
Philadelphia, PA 19103 P
Basis for the claim:
Date(s) debt was incurred _ asis Tor ine clan
Last 4 digits of account number _ Is the claim subject to offset? Mino Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $300,000.00
Olivia Kirschner C1 contingent :
300 EC ecaster Ave. CO unliquidated
pt. C1 Disputed
Wynnewood, PA 19096 P
Basis for the claim:
Date(s) debt was incurred _ asis forme clans _
Last 4 digits of account number __ is the claim subject to offset? Mino Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $17,500.00
Paul DeVlieger CJ contingent
5 Old Covered Bridge Rd. C1 untiquidated
Newtown Square, PA 19073 C1 pisputea
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino Clyes
3.17 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
PNC Bank C1 contingent
Attn: Legal Dept (C0 unliquidated
1511 Walnut St Opi
. : Disputed
Philadelphia, PA 19102 P
. Basis for the claim:
Date(s) debt was incurred __ _
Last 4 digits of account number _ is the claim subject to offset? Mino Clves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ali that apply. Unknown
PNC Bank
Headquaters/Legal C1 Contingent
eae vee NG PI D1 unliquidated
e fowera aza Cl pi
Disputed
Pittsburgh, PA 15222 P
Basis for the claim:
Date(s) debt was incurred _ asis Tor se claim: —
Last 4 digits of account number _ ts the claim subject to offset? Mino [yes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 4
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Debtor Main Street Business Funding, LLC

Case number (if known)

Name
3.19 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $4,000,000.00
Roger A. Cisco CI Contingent
PO Box 157 C unliquidated
Red Jacket, WV 25692 [1 disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number __
{s the claim subject to offset? Mino Dyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $1,450,000.00
RS Goggin il Ci contingent
Family Irev Trust C] Unliquidated
678 Andover Rd. C1 pisputed
Newtown Square, PA 19072
. Basis for the claim:
Date(s) debt was incurred _ _
Last 4 digits of account number Is the claim subject to offset? Ml No [1 Yes
[321 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $100,000.00
Susan Furman U1 contingent
3765 Carmen Ct. C1 unliquidated
Coconut Grove, FL 33133 1 pisputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Ml No 11 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $170,000.00
Thomas C. Egan D1 contingent
981 Cross Lane CJ Untiquidated
Blue Bell, PA 19422 C pisputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? MM No [1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $170,600.00

Tom Egan
981 Cross Lane
Blue Bell, PA 19422

Date(s) debt was incurred

Last 4 digits of account number _

Oo Contingent
C] Untiquidated
oO Disputed

Basis for the claim: _

Is the claim subject to offset? a No (Cl Yes

List Others to Be Notified About Unsecured Claims

4, List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,

assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

On which line in Parti or Part 2 is the

Name and mailing address Last 4 digits of

related creditor (if any) listed? account number, if

any
Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
Total: of. claim amounts

6a. Total claims from Part 1 5a. $ 0.00

&b. Total claims from Part 2 5b. + § 9,323,135.00

5c. Total of Parts 1 and 2

Lines 5a + 5b = 5c. 5c. $ 9,323,135.00

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 4

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Debtorname Main Street Business Funding, LLC

United States Bankruptcy Court for the: DISTRICT OF DELAWARE

Case number (if known)

( Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
[1 No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

Wl Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B; Assets - Real and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1. State what the contract or Monthly Contract

lease is for and the nature of
the debtor's interest

State the term remaining Intuit, Inc.
(Attn: QuickBooks)
List the contract number of any 2700 Coast Ave.
government contract Mountain View, CA 94043
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Debtorname Main Street Business Funding, LLC

United States Bankruptcy Court forthe: DISTRICT OF DELAWARE.

Case number (if known)

1 Check if this is an
amended filing

Official Form 206H
Schedule H: Your Codebtors 42/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

Wl No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
0 Yes
2. In Column 1, list as codebtors ail of the people or entities who are also liable for any debts listed by the debtor in the schedules of

creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2; Creditor
Name Mailing Address Name Check all schedules
that apply:
2.1 Ob
Street 0 E/F
OG
City State Zip Code
2.2 Cb
Street 0] E/F
OG
City State Zip Code
2.3 OD
Street [J E/F
OG
City State Zip Code
2.4 Od
Street C) E/F
OG
City State Zip Code
Official Form 206H Schedule H: Your Codebtors Page 1 of 1

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RTM CMULceUC ee CHM Umer kien

Debtorname Main Street Business Funding, LLC

United States Bankruptcy Court for the: DISTRICT OF DELAWARE

Case number (if known)

(1 Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Income

1. Gross revenue from business

C] None.
Identify the beginning and ending dates of the debtor’s fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check all that apply (before deductions and
exclusions)
For prior year: C Operating a business $40,270.50
From 1/01/2018 to 12/31/2018 3/20/2018 to

M Other 6/30/2018

2. Non-business revenue
include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

Ml None.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)

List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
and every 3 years after that with respect to cases filed on or after the date of adjustment.)

Mi None.

Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 107(31).

EE None.

Insider's name and address Dates Total amount of value Reasons for payment or transfer
Relationship to debtor

5. Repossessions, foreclosures, and returns
Official Form 207 Statement of Financial Affairs for Non-Individuats Filing for Bankruptcy page 1

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Debtor Main Street Business Funding, LLC Case number (if known)

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

Mi None

Creditor’s name and address Describe of the Property Date Value of property

Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt.

HI None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits

List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity—within 1 year before filing this case.

0 None.
Case title Nature of case Court or agency's name and Status of case
Case number address

7.1.. Philadelphia Litigation: Main Breach of Court of Common Pleas, O Pending
Street Business Funding, LLC Contract Philadelphia, PA C On appeal
and Robert S. Goggin, Ill v. C] Concluded

Michael J. Goldner, et al.
May Term, 2016, No. 02449

7.2. Jospeh Cooney v Main Street Breach of Delaware District Court M Pending
Business Funding, LLC Contract 844 N. King Street C1 On appeal
18-1978 (LPS) Wilmington, DE 19801 O Concluded

7.3. Jennifer Karpchuck v Main Breach of Delaware District Court Mf Pending
Street Business Funding, LLC Contract 844 N. King Street C1 On appeal
18-1979 (LPS) Wilmington, DE 19801 O Concluded

7.4. John P. Lane v. Main Street Breach of Delaware District Court M@ Pending
Business Funding, LLC Contract 844 N. King Street C1 On appeal
18-1910 (LPS) Wilmington, DE 19801 CO Concluded

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

EZ None

Certain Gifts and Charitable Contributions

9, List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of

the gifts to that recipient is less than $1,000

Hi None
Recipient's name and address Description of the gifts or contributions Dates given Value
Official Form 207 Statement of Financial Affairs for Non-Individuats Filing for Bankruptcy page 2

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Debtor Main Street Business Funding, LLC Case number (if known)

Certain Losses

10. All losses from fire, theft, or other casuaity within 1 year before filing this case.

EE None
Description of the property lost and Amount of payments received for the loss Dates of loss Value of property
how the loss occurred lost

if you have received payments to cover the loss, for
example, from insurance, government compensation, or
tort liability, list the total received. .

List unpaid claims on Official Form 106A/B (Schedule
A/B: Assets — Real and Personal Property).

Certain Payments or Transfers

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
relief, or filing a bankruptcy case.

[1 None.

Who was paid or who received If not money, describe any property transferred Dates Total amount or
the transfer? value
Address
11.1. Gellert Scali Busenkell
& Brown, LLC
1201 N. Orange St
Suite 300
Wilmington, DE 19801 4/9/2019 $10,000.00

Email or website address

Who made the payment, if not debtor?

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

Mf None.

Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

Mi None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

Previous Locations

14, Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
Hf Does not apply

Official Form 207 Statement of Financial Affairs for Non-individuais Filing for Bankruptcy page 3

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Debtor Main Street Business Funding, LLC Case number (if known)
Address Dates of occupancy
From-To

Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

MH No. Go to Part 9.
C1 Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services If debtor provides meals
the debtor provides and housing, number of
patients in debtor’s care

Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

Cl No.

HM Yes. State the nature of the information collected and retained.

Social Security Numbers, Bank Account Information, Tax ID
Numbers, and Addresses

Does the debtor have a privacy policy about that information?
CI No

Ml yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

Hl No. Go to Part 10.
[] Yes. Does the debtor serve as plan administrator?

izgatiag Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperatives, associations, and other financial institutions.

Ml None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

case.
M None
Depository institution name and address Names of anyone with Description of the contents Do you still
access to it have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 4 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4

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Debtor Main Street Business Funding, LLC Case number (if known)
Ml None
Facility name and address Names of anyone with Description of the contents Do you still
access to it have it?

umkee Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

Ml None

umes Details About Environment Information

For the purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium).

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

M No.

[] Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

MM No.

Cl sYes. Provide details below.

Site name and address Governmental unit name and Environmental! law, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous material?

M No.

Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

[clumekie Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
include this information even if already listed in the Schedules.

Mi None
Business name address Describe the nature of the business Employer identification number
Do not include Social Security number or [TIN.
Dates business existed
Official Form 207 Statement of Financial Affairs for Non-individuals Filing for Bankruptcy page 5

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Debtor Main Street Business Funding, LLC Case numbet (if known)

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

C None
Name and address Date of service
From-To

26a.1. GBCD Partners LLC 2013-2015
1420 Walnut St.
#1012
Philadelphia, PA 19102

26a.2. H&R Block HQ 2016-2017

Attb: Legal Dept.
1 HandR BlockWay
Kansas City, MO 64102

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

Mi None

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
C] None

Name and address If any books of account and records are
unavailable, explain why
26c.1.  Sandria Andujar
1528 Walnut Street
Suite 900
Philadelphia, PA 19102

26c.2. Jonathan Goldberg

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

Ml None
Name and address

27. Inventories
Have any inventories of the debtor’s property been taken within 2 years before filing this case?

He No

[J Yes. Give the details about the two most recent inventories.
Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.

Name Address Position and nature of any % of interest, if
interest any
Robert Goggin 1528 Walnut Street Officer/President Owned by
Suite 900 Trust

Philadelphia, PA 19102

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 6

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Debtor Main Street Business Funding, LLC Case number (if known)

M@ No
O Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to Insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on loans, stock redemptions, and options exercised?

H No
O Yes. Identify below.
Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

H No
O Yes. Identify below.

Name of the parent corporation Employer Identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

Hi No
O1 Yes. Identify below.

Name of the pension fund Employer Identification number of the parent
corporation

[Flaiee Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571,

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on ee Of; see} f. ‘G
a Fok

i ~

ey ; - Robert Goggin
Signature of individuet Signing on-behaff of the debtor Printed name
yo

Position or relationship to debtor President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
No
O Yes

Offictal Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 7

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United States Bankruptcy Court
District of Delaware

Inre Main Street Business Funding, LLC Case No.

Debtor(s) Chapter 7

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for _Main Street Business Funding, LLC _ in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

@ None [Check if applicable]

Tf sx] 14. \ h ISD

Date | / MichaeYBusenkéll

Signature of Attorney or Litigant

Counsel for Main Street Business Funding, LLC
Gellert Scali Busenkell & Brown, LLC

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